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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JOHN SOKOL, individually and on
behalf of classes of similarly situated
individuals,
Plaintiff,
V. Case No. 3:18-cv-262-J-39PDB
FORTEGRA FINANCIAL
CORPORATION, a Delaware
corporation and ENSURETY

VENTURES, LLC, a Missouri
corporation,

Defendants.
/

ORDER OF DISMISSAL

This matter is before the Court on the Stipulation of Dismissal (Doc. No. 35;
Stipulation) filed on February 6, 2019. In the Stipulation, the parties state that they agree
to the dismissal of this case with prejudice. See Stipulation at 1. Accordingly, it is hereby

ORDERED:

1. This case is DISMISSED with prejudice.

2. Each party shall bear its own costs and fees.

3. The Clerk of the Court is directed to terminate all pending motions and close
the file.

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DONE and ORDERED in Jacksonville, Florida this © day of February, 2019.

K() D.

BRIAN J. DAVIS —
‘United States District Judge
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Copies to:

Counsel of Record
